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IN THE UNITED STATES DlSTRICT COURT FOR THE
EASTERN DlSTRICT OF VIRGINIA
Alexandria Division

 

UNITED STATES OF AMERICA

Case No. l:l 8-cr-83 (TSE)
PAUL J. MANAFORT, .IR.,

Defendant

 

 

ORDER

This matter comes before the Court on the Motion of the United States to seal a limited
portion of a sidebar conference held on August 7, 2018, pursuant to Local Criminal Ru|e 49(E).
For good cause shown, the Court finds:

l. The United States seeks an order pursuant to Local Criminal Ru|e 49(E) sealing a
limited portion of a sidebar conference held on August 7, 20 l 8.

2. Sealing a limited portion of the sidebar conference is necessary because it would
reveal substantive evidence pertaining to an ongoing govemment investigation. See Virginia Dep 't
of Stale Police v. Washinglon Post, 386 F.3d 567, 579 (4th Cir. 2004) (“[A] compelling
governmental interest exists in protecting the integrity of an ongoing law enforcement
investigation.”).

3. The United States and the Court have considered procedures other than sealing, but
none would suffice to protect the information subject to sealing.

4. This Court has the inherent authority to order that documents be filed under seal.

“The trial court has supervisory power over its own records and may, in its discretion, seal

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documents if the public’s right of access is outweighed by competing interests.” In re Knight Pub.

Co., 743 F.2d 231, 235 (4th Cir. 1984).
5. The United States requests that the following portions of the sidebar conference

held on August 7, 2018, remain sealed until the relevant aspect of the investigation is revealed

publicly, ifthat were to occur: Aug. 7, 2018 Tr. at 1399: l4-l9; 1402:1-2, l4-l7; 1403: 12-15.

lt is therefore ORDERED that the United States’ Motion to Seal is GRANTED; it is further

ORDERED that the identified portions of the sidebar conference held on August 7, 2018, are

sealed until the relevant aspect of the investigation is revealed publicly, if that were to occur.

Date

 

